                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                     3:09cr237-RJC


UNITED STATES OF AMERICA,                        )
                                                 )
                       Plaintiff,                )
                                                 )
               v.                                )         FINAL ORDER AND JUDGMENT
                                                 )           CONFIRMING FORFEITURE
(3) JORGE OCHOA-RODRIGUEZ,                       )
                                                 )
                       Defendant.                )
                                                 )

       On August 9. 2010, this Court entered a Preliminary Order of Forfeiture pursuant to 21

U.S.C. § 853 and Fed. R. Crim. P. 32(d)(2), based upon the Defendant’s plea of guilty to Count

Two in the Bill of Indictment, without a plea agreement. As to Count One, Defendant was

charged with conspiracy to possess with intent to distribute a controlled substance, in violation

of 18 U.S.C. § 841(a)(1) and § 846. The government also submitted an affidavit of DEA Special

Agent Eric S. Lee to establish, in accordance with Rule 32.2(b)(1)(A), the “requisite nexus

between the property and the offense.”

       On August 11, 2010 through September 9, 2010, the United States published via

www.forfeiture.gov, notice of this forfeiture and of the intent of the government to dispose of the

forfeited property according to law, and further notifying all third parties of their right to petition

the Court within sixty days from August 11, 2010 for a hearing to adjudicate the validity of any

alleged legal interest in the property. It appears from the record that no such petitions have been

filed. Based on the record in this case, including the defendant’s plea of guilty, the Court finds,

in accordance with Rule 32.2(c)(2), that the Defendant had an interest in the property that is

forfeitable under the applicable statute.




        Case 3:09-cr-00237-RJC              Document 77      Filed 12/28/10      Page 1 of 2
       It is therefore ORDERED:

       In accordance with Rule 32.2(c)(2), the Preliminary Order of Forfeiture is confirmed as

final. All right, title, and interest in the following property, whether real, personal, or mixed, has

therefore been forfeited to the United States for disposition according to law:

               Approximately $13,000 in United States currency seized on December 4,

                       2009;

               One Ruger P89 9mm pistol, serial number 310-94907;

               One Ruger Model 10/22 Carbine .22 caliber rifle, serial number 125-05527;

               One Intra Tec .22LR Tec-22 handgun, serial number 0492-57;

               One Rossi .22LR revolver, serial number L054195;

               One Bryco Arms .22LR semi-automatic pistol, serial number 1060680; and

               Any and all ammunition seized on December 4, 2009.



                                                   Signed: December 28, 2010




                                                  2



        Case 3:09-cr-00237-RJC           Document 77         Filed 12/28/10      Page 2 of 2
